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5
     Attorney for Defendant
6    ALAN DAVID TIKAL

7
                                IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                  ) Case No. 2:12-cr-362 TLN
                                                )
11                 Plaintiff,                   ) AMENDED STIPULATION AND ORDER TO
                                                ) VACATE STATUS CONFERENCE DATE;
12         vs.                                  ) RESET TCH AND TRIAL DATES; SET
                                                ) BRIEFING SCHEDULE AND TO EXCLUDE
13   ALAN DAVID TIKAL,                          ) TIME
                                                )
14                 Defendant.                   )
                                                )
15                                              )

16      IT IS HEREBY STIPULATED AND AGREED between the parties, Philip Ferrari, Assistant

17   United States Attorney, attorney for Plaintiff, Matthew C. Bockmon, Assistant Federal Defender,

18   attorney for defendant ALAN DAVID TIKAL, Bruce Locke, attorney for defendant, TAMARA

19   TERESA TIKAL, and Philip Cozens, attorney for defendant, RAY JAN KORNFELD, that the
     status conference currently set for October 24, 2013 be vacated.
20
        Further the parties stipulate that the Trial Confirmation Hearing date of January 9, 2014 and
21
     Jury Trial date of February 3, 2014 be vacated, and a new Trial Confirmation Hearing date of
22
     August 21, 2014 at 9:30 a.m. and a Jury Trial date of September 15, 2014 at 9:00 a.m. be set.
23
        A motion briefing schedule is stipulated as follows: Motions shall be filed by June 5, 2014;
24
     Responses due by June 19, 2014; and Replies due by June 26, 2014. A Motion Hearing is set for
25
     July 10, 2014 at 9:30 a.m. The motion hearing currently set for November 21, 2013 is vacated.
26
        A Superceding Indictment was filed in this case on September 11, 2013 naming two
27
     additional defendants along with defendant ALAN DAVID TIKAL. The reason for the
28
     continuance is to allow defense counsel time to review voluminous discovery consisting of over
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1    70,000 pages with the defendants, to examine possible defenses and to continue investigating the
2    facts of the case.
3        IT IS FURTHER STIPULATED that the period October 22, 2013 through and including

4    September 15, 2014, be excluded in computing the time within which trial must commence

5    under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for

6    continuity and preparation of counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code T2 for

7    complexity.
     Dated: October 24, 2013
8
9                                                Respectfully submitted,

10                                               HEATHER E. WILLIAMS
                                                 Federal Defender
11
12                                               /s/ Matthew C. Bockmon
                                                 MATTHEW C. BOCKMON
13                                               Assistant Federal Defender
                                                 Attorneys for Defendant
14                                               ALAN DAVID TIKAL
15
                                                 /s/ Matthew C. Bockmon for
16                                               BRUCE LOCKE
                                                 Attorney for TAMARA TERESA TIKAL
17
                                                 /s/ Matthew C. Bockmon for
18                                               PHILIP COZENS
                                                 Attorney for RAY JAN KORNFELD
19
20   Dated: October 24, 2013                     BENJAMIN B. WAGNER
                                                 United States Attorney
21
22                                               /s/ Matthew C. Bockmon for
23                                               PHILIP A. FERRARI
                                                 Assistant U.S. Attorney
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                                                                           U.S. v Tikal, et al., 12-cr-362 TLN

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1                                                  ORDER
2           UPON GOOD CAUSE SHOWN and the amended stipulation of all parties, it is ordered
3    that the October 24, 2013, status conference hearing be vacated. It is also ordered that the Trial
4    Confirmation Hearing of January 9, 2014 is vacated and a new Trial Confirmation Hearing of
5    August 21, 2014 be set at 9:30 a.m. The trial date of February 3, 2014 is vacated and a new trial
6    date of September 15, 2014 be set at 9:00 a.m. The new motion briefing scheduled is adopted.
7    The motion hearing is scheduled for July 10, 2014 at 9:30 a.m. The motion hearing for
8    November 21, 2013 is vacated.
9           Based on the representation of defense counsel and good cause appearing there from, the
10   Court hereby finds that the failure to grant a continuance in this case would deny defense counsel
11   reasonable time necessary for effective preparation, taking into account the exercise of due
12   diligence. The Court finds that the ends of justice to be served by granting a continuance
13   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
14   time up to and including the September 15, 2014 trial date shall be excluded from computation
15   of time within which the trial of this matter must be commenced under the Speedy Trial Act
16   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of
17   counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code T2 for complexity.
18   Dated: October 24, 2013
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21
                                                           Troy L. Nunley
22                                                         United States District Judge

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                                                                                U.S. v Tikal, et al., 12-cr-362 TLN

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